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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


LOGAN M. GRIMES,               )
                               )
      Plaintiff,               )
                               )
         -vs-                  )
                               )
COUNTY OF COOK, an Illinois    )              No. 1:19-cv-06091
county, d/b/a COOK COUNTY      )
HEALTH & HOSPITALS SYSTEM      )
and/or CERMAK HEALTH SERVICES; )
and MELVIN JUDKINS, in his     )
individual capacity;           )              Judge Gary S. Feinerman
                               )
      Defendants.              )              Magistrate Judge Jeffrey T. Gilbert


                    JOINT STATUS REPORT PURSUANT TO
                   THIS COURT’S ORDER OF MAY 27, 2020

      NOW COMES the Plaintiff, LOGAN M. GRIMES, by and through his

attorney, JOANIE RAE WIMMER, and the Defendants, COUNTY OF COOK, an

Illinois county, d/b/a COOK COUNTY HEALTH & HOSPITALS SYSTEM and/or

CERMAK HEALTH SERVICES, and MELVIN JUDKINS, by and through their

attorney, KIMBERLY M. FOXX, Cook County State’s Attorney, through her

assistant, COLLEEN HARVEY, and submit this joint status report pursuant to

this Court’s order of May 27, 2020.

      This Court’s order of May 27, 2020, provided that “the parties shall file a

joint status report addressing whether the schedule set forth in the 3/4/2020

order [242] requires any adjustment other than the 77-day extension granted

by the various iterations of Amended General Order 20-0012.” The parties do


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believe that the current schedule requires some adjustments beyond the

extension granted by the Coronavirus Covid-19 Public Emergency Orders.

      On September 26, 2019, an order was entered which stayed the entry of

a discovery schedule in this case until resolution of the motion to dismiss.

(Doc. 12) Accordingly, the parties did not submit a proposed schedule. On

January 16, 2020, this Court entered a schedule (Doc. 24) with deadlines for

MIDP disclosures (February 18, 2020), service of written discovery (March 10,

2020), motions to amend pleadings or add new parties (June 17, 2020),

completion of fact discovery (August 19, 2020), and filing of dispositive motions

(September 23, 2020). On March 4, 2020, this Court entered an order (Doc.

34) providing that the parties proceed with discovery under the present

schedule. On April 23, 2020, this Court entered a Memorandum Opinion and

Order resolving the motion to dismiss by denying it. (Doc. 43) (Each of the

deadlines in the order of January 16, 2020, has now been extended 77 days

pursuant to the Coronavirus Covid-19 Public Emergency Orders.)

      Counsel for the parties had a video conference on June 1, 2020. At that

time counsel discussed the oral depositions which they anticipated taking.

Defendant anticipates taking the deposition of Plaintiff, Logan M. Grimes. The

Plaintiff’s counsel anticipates taking the depositions of Defendant Melvin

Judkins; the three people who were present when Judkins allegedly outed the

Plaintiff as transgender (Katie Healey, Kristen Bain, and Arturo Centeno);

Feroze Khan, who was Leave Administration Manager for Cook County Health

& Hospitals System at the time of the events in the Second Amended


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Complaint; and the three people who allegedly harassed the Plaintiff in a

manner which suggested that the harassment was based on his transgender

status (Shirley McBride, M. Brittman, and the nurse whose last name is

Bradford). In addition, it is likely that the Plaintiff’s counsel, depending on the

Defendants’ interrogatory answers and how those depositions go, may wish to

take the depositions of two or three more individuals. The Plaintiff anticipates

retaining two expert witnesses: one to testify about what it means to be

transgender and about what disclosure of the Plaintiff’s transgender status

disclosed about the Plaintiff’s medical history, and another to testify as to the

present value of the diminution of the Plaintiff’s pension rights with the County

of Cook. Counsel for both parties also discussed the fact that oral depositions

cannot start until after the date when the written discovery is due to be

answered, June 25, 2020. Counsel also discussed concerns about going

forward with depositions during the current public health emergency, in light

of the fact that depositions generally take place in a small room in which

various people are talking over a period of hours. The parties are looking into

the possibility of conducting some of the depositions by remote means,

although the Plaintiff’s counsel has concerns about the effectiveness of cross-

examination in a remote setting.

      After considering the foregoing, counsel have agreed upon the following

schedule, assuming it will be safe to commence depositions immediately after

June 25, 2020 and the current public health emergency does not impede their

progress:


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Disclosure of Experts: November 4, 2020

Deadline to Complete of Fact Discovery: December 4, 2020

Deadline to Complete Expert Discovery: January 4, 2021

Deadline for Dispositive Motions: February 8, 2021

This proposed schedule would extend the fact discovery closure date one

month beyond the 77-day extension granted by the Coronavirus Covid-19

Public Emergency Orders; it would create a new expert discovery closure date;

and it would extend the date for filing dispositive motions approximately two

months. This is the schedule the parties commend to the Court’s

consideration, again assuming that it is safe to commence oral depositions

after June 25, 2020, in light of the current public health emergency. And the

parties would welcome any information which the Court has concerning the

safety of proceeding with oral depositions.

                                        Respectfully submitted,



                                        ______/s/ Joanie Rae Wimmer_________
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